        Case 2:24-cv-00568-CB         Document 31        Filed 06/03/25    Page 1 of 10




                        UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                        CIVIL ACTION NO. 2:24-CV-00568-CB

NINGBO DONGCHUAN SWIMMING POOL
EQUIPMENT CO., LTD.,
Plaintiff,
v.

ONDWAY, POOLCLEAN US STORE, USA
WAREHOUSE, BOWANJIE, INPOOL US
STORE, DEWFOND, DIGIGER, MOTOBUDDY
STORE, et al.,
Defendants.
________________________________________/


DEFENDANT BOWANJIE’S ANSWER TO PLAINTIFF’S AMENDED COMPLAINT

Defendant BOWANJIE, by and through its undersigned counsel, hereby submits its Answer to

the Amended Complaint filed by Plaintiff Ningbo Bonny E-Home Co., Ltd. ("Plaintiff") [DE 7]

and responds to the allegations as follows:

                                              ANSWER

                                         THE PARTIES

1. BOWANJIE lacks sufficient knowledge or information to form a belief as to the truth of the

allegations regarding Plaintiff’s status as a corporation organized and registered in China with a

principal place of business at 5th Floor, Chuangdai Incubation, No. 199, Hexiao East Road,

Dongqiao Town, Haishu District, Ningbo, Zhejiang, 315000, China, and therefore denies the

same.




                                          Page 1 of 10
        Case 2:24-cv-00568-CB          Document 31        Filed 06/03/25      Page 2 of 10




2. BOWANJIE admits that it is a foreign-based entity but denies that it has copied Plaintiff’s

proprietary patent-protected products or sells infringing products online in marketplaces such as

Amazon.com and eBay.com. BOWANJIE further denies that it disregards the intellectual

property rights of others or acts as an infringer or counterfeiter. BOWANJIE lacks sufficient

knowledge to admit or deny the allegations regarding its conduct in concert or connection with

other Defendants and therefore denies the same.



3. BOWANJIE denies that it has substantial contacts or transacts substantial business, either

directly or through agents, in this judicial district or elsewhere in the United States sufficient to

establish personal jurisdiction.



4. BOWANJIE denies that the allegations in the Amended Complaint referencing Defendants

apply to BOWANJIE individually, jointly, severally, or in any combination with other

Defendants, unless specifically stated otherwise.



5. BOWANJIE denies that the acts complained of herein were committed by, on behalf of, or for

the benefit of BOWANJIE, unless specifically stated otherwise.



                                   NATURE OF THE ACTION



6. BOWANJIE admits that Plaintiff purports to bring this action for patent infringement but

denies that BOWANJIE has engaged in any infringing conduct.


                                           Page 2 of 10
        Case 2:24-cv-00568-CB        Document 31        Filed 06/03/25     Page 3 of 10




7. BOWANJIE denies that it has been infringing, contributing to the infringement of, or actively

inducing others to infringe the claims of U.S. Patent No. D985,947S ("the '947 Patent").



8. BOWANJIE denies that it has been infringing, contributing to the infringement of, or actively

inducing others to commit violations of unfair competition and deceptive trade practices under

Pennsylvania law, including under any purported "Pennsylvania Business and Professions Code

Section 17299," which does not exist. To the extent Plaintiff intended to reference a different

statute, BOWANJIE denies the allegations of unfair competition and deceptive trade practices.



9. BOWANJIE denies that Plaintiff’s evaluation and comparison under the ordinary observer test

establish that BOWANJIE has engaged in infringement of the '947 Patent.



                                JURISDICTION AND VENUE



10. BOWANJIE admits that this Court has subject matter jurisdiction over claims arising under

the patent laws of the United States, 35 U.S.C. § 271 et seq., pursuant to 28 U.S.C. §§ 1331 and

1338(a), and over state law claims under 28 U.S.C. § 1367, but denies that Plaintiff has stated a

valid claim for relief.



11. BOWANJIE denies that this Court has personal jurisdiction over BOWANJIE. BOWANJIE

specifically denies that it conducts substantial business in the Commonwealth of Pennsylvania or


                                         Page 3 of 10
        Case 2:24-cv-00568-CB            Document 31         Filed 06/03/25     Page 4 of 10




this judicial district, or that it has been infringing, contributing to the infringement of, or actively

inducing others to infringe the '947 Patent in this District or elsewhere. BOWANJIE further

denies that it regularly conducts, transacts, or solicits business in Pennsylvania, derives

substantial revenue from business transactions in Pennsylvania, or avails itself of the privileges

and protections of Pennsylvania law such that jurisdiction would not offend traditional notions of

fair play and due process. BOWANJIE also denies that its actions in Pennsylvania caused injury

to Plaintiff sufficient to establish jurisdiction.



12. BOWANJIE denies that venue is proper in this Court under 28 U.S.C. §§ 1391(a), (b), and

(c), or § 1400(b). BOWANJIE denies that a substantial part of the events giving rise to Plaintiff’s

claims occurred in the Western District of Pennsylvania, that BOWANJIE is subject to personal

jurisdiction in this District, that BOWANJIE transacts business in this judicial district, or that

BOWANJIE may be sued in this District as a non-resident of the United States.



                FACTUAL BACKGROUND (U.S. Design Patent No. D985,947S)



13. BOWANJIE incorporates its responses to paragraphs 1-12 as if fully set forth herein.



14. BOWANJIE admits that U.S. Design Patent No. D985,947S, titled "POOL BRUSH HEAD,"

was issued on May 16, 2023, to Ningbo Dongchuan Swimming Pool Equipment Co., Ltd., as

indicated in Exhibit 1 to the Amended Complaint. BOWANJIE denies that the '947 Patent is

valid or enforceable and lacks sufficient knowledge to admit or deny whether it remains in force.


                                              Page 4 of 10
       Case 2:24-cv-00568-CB          Document 31        Filed 06/03/25     Page 5 of 10




15. BOWANJIE lacks sufficient knowledge to admit or deny the allegations regarding the

research, innovation, or efforts by inventors Huaizhong He and Hu Zhang, and therefore denies

the same.



16. BOWANJIE lacks sufficient knowledge to admit or deny the allegations regarding the

ownership of the '947 Patent by Plaintiff and therefore denies the same.



17. BOWANJIE denies that the '947 Patent covers a valid ornamental design for a pool brush.

BOWANJIE lacks sufficient knowledge to admit or deny the allegations regarding Plaintiff’s

commercial success or differentiation from competitors and therefore denies the same.



18. BOWANJIE lacks sufficient knowledge to admit or deny the allegations regarding Plaintiff’s

advertising, promotional efforts, or the goodwill and reputation associated with the pool brush

design, and therefore denies the same.



19. BOWANJIE admits that it operates an online store but denies that it advertises or sells

products that infringe the '947 Patent on Amazon.com, eBay.com, or Walmart.com under the

brand name listed in Schedule A.



20. BOWANJIE denies that it offers or provides products that infringe the '947 Patent to the

market under various names, either individually or with other Defendants.


                                          Page 5 of 10
        Case 2:24-cv-00568-CB           Document 31         Filed 06/03/25      Page 6 of 10




21. BOWANJIE denies that its products infringe the '947 Patent under the ordinary observer test

or any other standard.



22. BOWANJIE denies that its products infringe the '947 Patent as shown in the side-by-side

comparisons in Exhibits 2 through 9 of the Amended Complaint.



23. BOWANJIE admits that Plaintiff has not granted it a license or authorization to make, use,

offer for sale, sell, or import pool brushes embodying the design of the '947 Patent. BOWANJIE

denies that its products infringe the '947 Patent or that the '947 Patent is proprietary to Plaintiff.



24. BOWANJIE lacks sufficient knowledge to admit or deny whether Plaintiff communicated a

cease-and-desist request in August 2023 or whether BOWANJIE received such a request, and

therefore denies the same. BOWANJIE denies that it continues to sell, offer to sell, or promote

infringing products on online platforms such as Amazon.com.



25. BOWANJIE denies that it failed to respond to or acknowledge any cease-and-desist requests,

as it lacks sufficient knowledge to confirm receipt. BOWANJIE denies that it continues to sell

infringing products or has discouraged consumers from purchasing such products.



26. BOWANJIE denies that it has discouraged consumers from purchasing infringing products or

that it has knowledge of Plaintiff’s rights in the '947 Patent.


                                            Page 6 of 10
        Case 2:24-cv-00568-CB        Document 31        Filed 06/03/25     Page 7 of 10




27. BOWANJIE denies that it has been willfully and knowingly infringing Plaintiff’s rights in

the '947 Patent or that Plaintiff has suffered substantial losses and damages as a result of

BOWANJIE’s actions.



28. BOWANJIE denies that its conduct is wrongful or infringing and denies that Plaintiff is

entitled to injunctive relief.


FIRST CAUSE OF ACTION (Infringement of U.S. Design Patent No. D985,947S Under 35
                            U.S.C. § 271 et seq.)


29. BOWANJIE incorporates its responses to paragraphs 1 through 28 as if fully set forth herein.



30. BOWANJIE lacks sufficient knowledge to admit or deny whether Plaintiff provided notice of

alleged infringement in August 2023, and therefore denies the same. BOWANJIE denies that it

has infringed the '947 Patent.



31. BOWANJIE denies that it has engaged in a pattern of conduct demonstrating awareness of

the '947 Patent, that its actions constitute infringement, that the '947 Patent is valid and

enforceable, or that there was an objectively high likelihood of infringement known or obvious

to BOWANJIE.




                                         Page 7 of 10
        Case 2:24-cv-00568-CB            Document 31         Filed 06/03/25        Page 8 of 10




32. BOWANJIE denies that it has infringed or continues to infringe the '947 Patent by making,

using, offering to sell, or selling products in the United States, including in Pennsylvania or this

judicial district, that infringe the ornamental design of the '947 Patent.



33. BOWANJIE denies that its products infringe the '947 Patent under the ordinary observer test

or any other standard.



34. BOWANJIE denies that its actions constitute infringement of the '947 Patent without

authority, permission, or license, and denies that such actions violate 35 U.S.C. § 271.



35. BOWANJIE denies that its actions have damaged or continue to damage and injure Plaintiff,

that any alleged injury is irreparable, or that Plaintiff is entitled to injunctive relief.



36. BOWANJIE denies that Plaintiff is entitled to an accounting of proceeds or profits derived by

BOWANJIE, including under 35 U.S.C. § 289.



37. BOWANJIE denies that it has engaged in willful or deliberate infringement of the '947

Patent, that Plaintiff is entitled to treble damages under 35 U.S.C. § 284, or that this action

qualifies as an exceptional case under 35 U.S.C. § 285.



38. BOWANJIE denies that Plaintiff is entitled to a permanent injunction preventing

BOWANJIE from further alleged infringement of the '947 Patent.


                                              Page 8 of 10
        Case 2:24-cv-00568-CB          Document 31        Filed 06/03/25   Page 9 of 10




                                    PRAYER FOR RELIEF



39. BOWANJIE denies that Plaintiff is entitled to any of the relief requested in paragraphs A

through H of the Prayer for Relief, including but not limited to findings of infringement, an

accounting of damages, actual damages, enhanced damages, attorneys’ fees, injunctive relief, or

an order restraining funds in financial accounts.



                                 DEMAND FOR JURY TRIAL



       BOWANJIE hereby demands a jury trial on all issues triable as of right to a jury, pursuant

to Fed. R. Civ. P. 38(b).



Dated: June 3, 2025

                                              Respectfully submitted,



                                              /s/ Jianyin Liu

                                              FBN: 1007675
                                              Jianyin Liu, Esq.
                                              The Law Offices of James Liu, LLC
                                              15750 SW 92nd Ave Unit 20C
                                              Palmetto Bay, FL 33157
                                              Ph: (305) 209 6188
                                              Email: jamesliulaw@gmail.com




                                           Page 9 of 10
        Case 2:24-cv-00568-CB     Document 31       Filed 06/03/25   Page 10 of 10




                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true copy of the foregoing was sent via CM/ECF on June 3,
2025.

                                         /s/ Jianyin Liu




                                      Page 10 of 10
